108 F.3d 1373
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sylphide A. SPENCER, Petitioner--Appellant,v.VIRGINIA PAROLE BOARD, Respondent--Appellee.
    No. 96-7552.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 25, 1997.Decided March 18, 1997.
    
      Sylphide A. Spencer, Appellant Pro Se.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on her petition filed under 28 U.S.C. § 2254 (1994), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  Spencer v. Virginia Parole Board, No. CA-96-1302 (E.D.Va. Sept. 18, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    